       Case 7:23-cv-00168-DC-RCG Document 8 Filed 12/01/23 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                              MIDLAND-ODESSA DIVISION

 MARILYN CASTILLO, MELANIE                            )
 MELENDEZ, and all others similarly situated          )
 under 29 USC § 216(b),                               )
                                                      )
               Plaintiffs,                            )
                                                      )
        vs.                                           ) CASE NO. 7:23-CV-00168-DC-RCG
                                                      )
 HANDS OF COMPASSION HOME CARE,                       )
 LLC, DEACONESS HEALTHCARE                            )
 HOLDINGS, INC. and KAREN VAHLBERG,                   )
                                                      )
               Defendants.                            )

                                APPEARANCE OF COUNSEL

To:    The clerk of court and all parties of record

       Andrew S. Murphy of the law firm Taft Stettinius & Hollister LLP, is admitted or

otherwise authorized to practice in this court, and hereby enters his appearance on behalf of

Defendant Hands of Compassion Home Care, LLC in this matter.

Dated: December 1, 2023                      Respectfully submitted,

                                             /s/ Andrew S. Murphy
                                             Andrew S. Murphy, # 24080244
                                             TAFT STETTINIUS & HOLLISTER LLP
                                             111 E. Wacker Drive, Suite 2600
                                             Chicago, Illinois 60601
                                             (312) 836-4145 – phone
                                             (312) 754-2373 – fax
                                             amurphy@taftlaw.com

                                             Attorney for Defendant Hands of Compassion Home
                                             Care, LLC
        Case 7:23-cv-00168-DC-RCG Document 8 Filed 12/01/23 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on December 1, 2023, a copy of the foregoing was filed electronically.

Service of this filing will be made on all ECF-registered counsel by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.


                                             /s/ Andrew S. Murphy
                                             Andrew S. Murphy




                                                2
